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July 12, 2018

Hon. Jesse M. Furman
United States District Court
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

Re:        Grande Communications Networks LLC v. BMG Rights Management (US) LLC,
           No. 1:18-mc-00315-JMF (S.D.N.Y.)

Dear Judge Furman:

Pursuant to the Court’s Order of July 5, 2018, the parties present this letter with their respective
positions on the following issues regarding the above-referenced miscellaneous case.

1.      Transfer to Western District of Texas

The parties agree that this matter should proceed in the Southern District of New York. The
parties do not believe that transfer of this matter to the United States District Court for the
Western District of Texas would be necessary or efficient.

2.      Whether this Matter Can Be Resolved without Full Briefing

Grande – Grande does not believe that full briefing is necessary.1 The parties can present the
issues fully to the Court at the hearing on July 17, 2018.

BMG – BMG would like the opportunity to address Grande’s motion to compel in full given the
scope and propriety of the information requested. While BMG provided a high-level summary
of its arguments below, given the page limits set forth in ECF No. 3, BMG cannot fully address
all of the issues raised in Grande’s 8 pages of argument in its motion to compel. Thus, BMG
respectfully requests the opportunity to submit a written response. BMG will also be prepared to
discuss the issues at the hearing on July 17, 2018.

Cox – Cox believes that full briefing is necessary to ensure that each of the issues Grande
presented in its Motion to Compel are adequately addressed. Accordingly, Cox respectfully
requests the opportunity to submit a written response. Cox will also be prepared to discuss the
issues at the hearing before Your Honor on July 17, 2018.

3.      How this Matter Should Be Resolved

Grande – This matter should be resolved with an order compelling the immediate production of
the Rightscorp related testimony and documents from the BMG v. Cox lawsuit, including

1
 BMG and Cox’s detailed arguments on the merits in Section 3 of this letter (which the Court’s Order of July 5,
2018 did not request) demonstrates why full briefing is not necessary.

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following: (1) transcripts and exhibits from all testimony by William Rosenblatt, Barbara
Frederiksen-Cross, Greg Boswell, Chris Sabec, Christopher Rusinski, and Robert Steele; (2)
Rightscorp documents reflecting the Rightscorp technology for detecting alleged infringement
and sending notices to ISPs, communications with Rightscorp about flaws in its system, and
documents reflecting BMG’s contractual relationship with Rightscorp. These documents are
readily identifiable, are believed to be in the current possession of BMG and/or its counsel, and
are narrowly tailored to the needs of the underlying case between Grande and the plaintiffs. For
the reasons discussed in Grande’s motion to compel (ECF No. 1), BMG’s and Cox’s objections
should be overruled.

BMG – The Court should order the limited production of non-duplicative information related to
the operation and functionality of Rightscorp’s system and Grande’s motion to compel should be
denied in all other respects. Rightscorp is the common denominator between both matters,
which involve different plaintiffs and different defendants. This is best evidenced by the fact
that Grande subpoenaed Rightscorp (before BMG) and seeks to depose Rightscorp personnel.

From the outset, BMG has been willing to provide information related to Rightscorp’s
infringement detection system. In response to Grande’s subpoena, BMG offered to provide
Grande with the entire deposition of Greg Boswell (the developer of Rightscorp’s infringement
detection system) and those portions of the transcripts of Christopher Sabec (Rightscorp), Robert
Steele (Rightscorp) and Barbara Frederickson-Cross (BMG’s technical expert who opined on
both Rightscorp’s system and Cox specific material) that address the operation and functionality
of the Rightscorp system. Grande instead, seeks full transcripts and exhibits, including expert
reports of these and other witnesses, which go far beyond the functionality of the Rightscorp
system, are irrelevant, and contain both BMG’s and Cox’s confidential business information.2

Irrelevant BMG Documents: To further illustrate the overbreadth of Grande’s subpoena, Grande
is asking for documents reflecting BMG’s relationship with Rightscorp. BMG is not a party to
the UMG v. Grande case, and thus, any relationship between BMG and Rightscorp is wholly
irrelevant to the claims and defenses in the UMG v. Grande case. The only basis of relevance
articulated by Grande for this information was the reputation of Rightscorp. BMG’s relationship
with Rightscorp has no relevancy on the reputation of Rightscorp.

Third-Party Documents: Grande also seeks to compel BMG to produce another third-party’s
(Cox’s) confidential business information and transcripts and expert reports for witnesses under
Cox’s control. As noted below, Cox objects to the production of this information.

Documents Outside BMG’s Control: Grande also seeks to compel information that is not in the
possession, custody, or control of BMG – a fact that Grande is aware of yet continues to pursue.
Grande is asking this Court to compel “communications with Rightscorp in BMG’s possession
relating to flaws, defects, problems or limitations in the Rightscorp technology and system.”
ECF No. 1 at 4. BMG has told Grande multiple times that it is not aware of any communications
in its possession, custody, or control relevant to this request and thus, there is no information to
compel. ECF No. 1-4.

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 The BMG v. Cox case was remanded for retrial by the 4th Cir. Court of Appeals and will be retried on August 28,
2018 in the Eastern District of Virginia.

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Duplicative and Burdensome Information: Grande also seeks information duplicative of
information sought from UMG’s agent, Rightscorp. Grande is asking this court to compel BMG
to produce Rightscorp documents relating to Rightscorp’s system. ECF No. 1. However,
Grande also sought this same exact information from Rightscorp. See Ex. A at Request Nos. 5-
12. Any information BMG obtained related to Rightscorp’s system came from Rightscorp. It
would be wasteful and burdensome to require BMG to examine over 30,000 pages of document
productions to locate documents that Grande can or has obtained directly from Rightscorp.

Cox – Grande’s subpoena seeks documents and information which goes far beyond the
Rightscorp system. Simply put, information concerning Cox’s trade secrets, business practices
and technology functions is not relevant to the UMG v. Grande case. With this in mind, Cox
made good faith efforts to compromise and consented to the production of nearly all of the
information requested by Grande so long as the above-mentioned irrelevant and sensitive Cox
information was excluded from any productions. Grande did not accept this and is instead
continuing to insist on whole, un-redacted documents which contain information that is beyond
the scope of the claims in the UMG v. Grande case. Grande has provided no explanation as to
why Cox’s proprietary and confidential information is necessary or relevant to the issues it is
litigating concerning the Rightscorp system because it cannot.

With this backdrop, Cox is of the view that it should not be compelled to comply with Grande’s
overbroad subpoena and instead, the Court should modify the subpoena to include only those
documents (or portions of documents) narrowly related to Rightscorp’s system and exclude from
any production Cox’s confidential and proprietary information.

Furthermore, Cox should not be compelled to produce expert reports, transcripts and related
materials pertaining to those experts Cox retained in the BMG v. Cox case and who may have
opined on the Righstcorp system. Grande maintains that this information “is critical to Grande’s
investigation into the nature, capabilities, and limitations of Rightscorp’s system for monitoring
BitTorrent activity.” ECF No. 1. Cox incurred substantial expense to retain these experts
through private and voluntary agreements and Grande has no right to obtain that work product
and intellectual property of Cox via a subpoena to BMG simply because the Rightscorp system
may be at issue in the UMG v. Grande case. If Grande would like to obtain expert opinions on
the Rightscorp system, it is free to do so, however, Grande’s attempt to obtain this information
for free through a subpoena to BMG is not proper and disrupts the arrangement between Cox and
the experts and denies the experts the value of their services.

Grande’s motion to compel should be denied in all other respects.



                                                    Very truly yours,


                                                    /s/ Nicholas B. Clifford, Jr.______________
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